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FILED

UNITED STATES DISTRICT COURT AUG 06 2020 v~
NORTHERN DISTRICT OF ILLINOIS
THOMAS G. BRUTON
EASTERN DIVISION CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA ) No. o O C R 4 | 5
? )
v. ) Violations: 18 U.S.C. §§ 1001 and
7 1952(a)(3) and 26 U.S.C.
LOUIS PRESTA ) §§ 7206(1) and 7203
JUDGE DURKIN
COUNT ONE MAGISTRATE JUDGE VALDEZ

The SPECIAL JANUARY 2020 GRAND JURY charges:
On or about February 15, 2018, at approximately 10:32 a.m., in the Northern

District of Illinois, Eastern Division, and elsewhere,

LOUIS PRESTA,

defendant herein, used a facility in interstate commerce, namely, a cellular telephone
assigned telephone number (708) XXX-4068, with intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of an unlawful activity, namely, a violation of 720 ILCS 5/33-1(d)
(Bribery) and 720 ILCS 5/33-83(a)(4) (Official Misconduct), and thereafter, the
defendant did perform and attempt to perform an act to carry on and facilitate the
promotion and carrying on of said unlawful activity;

In violation of Title 18, United States Code, Section 1952(a)(8).
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COUNT TWO
The SPECIAL JANUARY 2020 GRAND JURY further charges:
On or about February 28, 2018, at approximately 2:15 p.m., in the Northern

District of Illinois, Eastern Division, and elsewhere,

LOUIS PRESTA,

defendant herein, used a facility in interstate commerce, namely, a cellular telephone
assigned telephone number (708) XXX-4063, with intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of an unlawful activity, namely, a violation of 720 ILCS 5/33-1(d)
(Bribery) and 720 ILCS 5/88-3(a)(4) (Official Misconduct), and thereafter, the
defendant did perform and attempt to perform an act to carry on and facilitate the
promotion and carrying on of said unlawful activity;

In violation of Title 18, United States Code, Section 1952(a)(8).
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COUNT THREE
The SPECIAL JANUARY 2020 GRAND JURY further charges:

On or about April 5, 2018, at approximately 12:30 p.m., in the Northern
District of Iinois, Eastern Division, and elsewhere,

LOUIS PRESTA,

defendant herein, used a facility in interstate commerce, namely, a cellular telephone
assigned telephone number (708) XXX-4063, with intent to promote, manage, |
establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of an unlawful activity, namely, a violation of 720 JLCS 5/38-1(d)
(Bribery) and 720 ILCS 5/33-3(a)(4) (Official Misconduct), and thereafter, the
defendant did perform and attempt to perform an act to carry on and facilitate the
promotion and carrying on of said unlawful activity;

In violation of Title 18, United States Code, Section 1952(a)(8).
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COUNT FOUR |
The SPECIAL JANUARY 2020 GRAND JURY further charges:
1. At times material to Count Six of this indictment:

a. The Village of Crestwood was a unit of local government in the
Northern District of Illinois.

b. | Defendant LOUIS PRESTA was. the Mayor of Crestwood.

c. Company A was a Chicago-area company that provided red-light
_ cameras that enabled municipalities, including Crestwood, to enforce certain traffic
violations and issue traffic-violation tickets.

d. During the time that Company A provided and attempted to
provide additional red-light-camera services to Crestwood, PRESTA asked for and .
accepted benefits from representatives of Company A, including Individual A.

e. Prior to on or about September 26, 2019, the Federal Bureau of
Investigation and Internal Revenue Service had initiated an investigation of LOUIS
PRESTA concerning potential violations of federal criminal law.

f. | The following matters, among others, were material to the
investigation:

i. PRESTA’s relationships with Company A and Individual
A, including his requests for and receipt of campaign
contributions, cash, and benefits from Company A and

Individual A; and

i. PRESTA’s request for and receipt of money from Individual
A.
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2. On or about September 26, 2019, at Crestwood, in the Northern District

of Illinois, Eastern Division, and elsewhere,

LOUIS PRESTA,

defendant herein, did knowingly and willfully make a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

Federal Bureau of Investigation and the Internal Revenue Service, agencies within

the executive branch of the government of the United States, when he stated the

following:

iil.

Iv.

When asked if he had ever asked for campaign contributions from
Company A or Individual A, PRESTA said that he had not.

When asked if he had ever received any gifts or cash contributions
from Company A or Individual A, PRESTA said that he had not.

When asked if he had ever received any cash from Individual A,

PRESTA said that he had not.

When asked if he received $5,000 from Individual A on March 7,
2018, PRESTA said that he did not.

When shown a recording of a March 7, 2018 meeting at which he
accepted from Individual A an envelope containing $5,000 in
United States currency, PRESTA said that there was no money
in the envelope.

In violation of Title 18, United States Code, Section 1001(a)(2).
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COUNT FIVE
The SPECIAL JANUARY 2020 GRAND JURY further charges:

On or about April 15, 2015, in the Northern District of Illinois, Eastern

Division, and elsewhere,
LOUIS PRESTA,

defendant herein, a resident of the Northern District of Illinois, having received gross
income in excess of the amount required to file an income tax return, and thereby
being required by law to file an income tax return (Form 1040 and accompanying
attachments) following the close of the calendar year 2014 and on or before April 15,
2015, stating specifically the items of his gross income and any deductions and credits
to which he was entitled, willfully failed to make and file an income tax return at the
time required by law;

In violation of Title 26, United States Code, Section 72038.
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COUNT SIX
The SPECIAL JANUARY 2020 GRAND JURY further charges:

On or about October 16, 2017, in the Northern District of Illinois, Eastern

Division, and elsewhere,
LOUIS PRESTA,

defendant herein, willfully made, subscribed, and caused to be made and subscribed,
a United States Individual Income Tax Return (Form 1040 with schedules and
attachments) for the calendar year 2015, which return was made under penalties of
perjury and was filed with the Internal Revenue Service, which income tax return he
did not believe to be true and correct as to every material matter, in that Line 22
stated that his total income was $12,000, when defendant knew that his total income
substantially exceeded that amount;

In violation of Title 26, United States Code, Section 7206(1).
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COUNT SEVEN
The SPECIAL JANUARY 2020 GRAND JURY further charges:

On or about April 15, 2019, in the Northern District of Illinois, Eastern

Division, and elsewhere, |
LOUIS PRESTA,

defendant herein, willfully made, subscribed, and caused to be made and subscribed,
a United States Individual Income Tax Return (Form 1040 with schedules and
attachments) for the calendar year 2018, which return was made under penalties of
perjury and was filed with the Internal Revenue Service, which income tax return he
did not believe to be true and correct as to every material matter, in that Line 6 stated
that his total income was $97,566, when defendant knew that his total income
substantially exceeded that amount; |

In violation of Title 26, United States Code, Section 7 206(1).
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FORFEITURE ALLEGATION

The SPECIAL JANUARY 2020 GRAND JURY alleges:

1. Upon conviction of an offense in violation of Title 18, United States Code,
Section 1952, as set forth in this indictment, defendant shall forfeit to the United
States of America any property which constitutes and is derived from proceeds
traceable to the offense, as provided in Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461(c), including at least
approximately $5,000.

2. Ifany of the property described above, as a result of any act or omission
by a defendant: (1) cannot be located upon the exercise of due diligence; (2) has been
transferred or sold to, or deposited with, a third party; (8) has been placed beyond the
‘jurisdiction of the Court; (4) has been substantially diminished in value; or (5) has
been commingled with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property, as

provided in Title 21, United States Code Section 853(p).

A TRUE BILL:

 

FOREPERSON

 

Signed by Amarjeet 5S. Bhachu on behalf of the

UNITED STATES ATTORNEY
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